                               Case 8:20-bk-05750-CPM      Doc 215-2           Filed 08/23/22   Page 1 of 9
Label Matrix for local noticing               AmeriCredit Financial Services, Inc., dba GM      Joy Kelley Augustine
113A-8                                        P O Box 183853                                    Read & Kelley Estate Services
Case 8:20-bk-05750-CPM                        Arlington, TX 76096-3853                          P.O. Box 3111
Middle District of Florida                                                                      N. Fort Myers, FL 33918-3111
Tampa
Tue Aug 23 09:55:01 EDT 2022
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1994 Carolina Circle NE                       Bankruptcy Department                             804 Anderson Street
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                             Case 8:20-bk-05750-CPM      Doc 215-2          Filed 08/23/22   Page 2 of 9
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Dos Bowies, LP                              Douglas C. Borden                                Emejo Holdings LLC
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                             Case 8:20-bk-05750-CPM      Doc 215-2        Filed 08/23/22   Page 3 of 9
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                               Case 8:20-bk-05750-CPM      Doc 215-2         Filed 08/23/22   Page 4 of 9
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Bloomingdale, IL 60108-8819                   Ponte Vedra Beach, FL 32082-1225                601 S Harbour Island Blvd
                                                                                              Tampa, FL 33602-5925


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528 Barrone St.                               Broomfield, CO 80023-9501                       SMITH
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                                                                                              BATON ROUGE, LA 70809-1766
                               Case 8:20-bk-05750-CPM      Doc 215-2         Filed 08/23/22   Page 5 of 9
Land Rover Financial Group                    Luke West                                       Lux Living LLC
c/o Chase                                     737 N. Madison Street                           Jusmin Patel
PO Box 78232                                  Tupelo, MS 38804-2017                           1675 Scott Valley Rd.
Phoenix, AZ 85062-8232                                                                        Reno, NV 89523-2154


M&M Q3 LLC                                    M&T Bank                                        (p)M&T BANK
504 N. Lake Dr.                               PO Box 1508                                     LEGAL DOCUMENT PROCESSING
Springlake Heights, NJ 07762-2090             Buffalo, NY 14240-1508                          626 COMMERCE DRIVE
                                                                                              AMHERST NY 14228-2307


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Tampa, FL 33609-3528                          Kent, WA 98042-5735                             Collwyville, TX 76034-3544



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Milan Lombardi                                Mital Panara                                    Murph Gottlieb
Shaily Shah JT TBE                            c/o McIntyre Thanasides                         1652 Crestview Lane
1147 Abbeys Way                               500 E Kennedy Blvd #200                         Erie, CO 80516-4025
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                                                                                              Lincoln, NE 68501-2561


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                              Case 8:20-bk-05750-CPM      Doc 215-2          Filed 08/23/22   Page 6 of 9
Paul Pisklak                                 Pulin Shah                                       Q3 Investment Recovery
4404 Wendell St.                             1424 Jefferson Ave.                              Vehicle, LLC
Bellaire, TX 77401-5216                      New Orleans, LA 70115-4119                       c/o Jennifer Jones, RA
                                                                                              500 E Kennedy Blvd #200
                                                                                              Tampa, FL 33602-4936

Q3 Investment Recovery Vehicle, LLC          RVB Orthopaedics, LLC                            Rafal Subernat
c/o McIntyre Thanasides                      c/o Mohit Bansal                                 1154 Buck Hill Drive
500 E Kennedy Blvd., Suite 200               1272 Cordova Blvd NE                             Veazie, ME 04401-7103
Tampa, FL 33602-4936                         St. Petersburg, FL 33704-2445


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Palm Bch Gardans, FL 33410-4512              Metairie, LA 70005-3312                          Frisco, TX 75035-1013



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                                                                                              500 E Kennedy Blvd #200
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                             Case 8:20-bk-05750-CPM      Doc 215-2         Filed 08/23/22   Page 7 of 9
Sandra Porter                               Sanjay Mehta                                    Sanket Vyas
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3437 Ocean Cay Circle                       450 Knights Run Ave #801                        Tony Garay
Jacksonville Beach, FL 32250-3924           Tampa, FL 33602-5799                            13818 SW 152 St. #136
                                                                                            Miami, FL 33177-1164


Skyway Cap Markets, LLC                     Srinivas Boppana                                State Exchange Bank
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                            Case 8:20-bk-05750-CPM                Doc 215-2          Filed 08/23/22       Page 8 of 9
Tony Fargiano                                        Tony Tran                                            Tripp Rogers
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Pittsburgh, PA 15217-2585                            Huntsville, Al 35810-4460                            Tuscaloosa, AL 35401-1753



Tropea Homes LLC                                     Truist Bank                                          U.S. Department of Justice
504 N. Lake Dr.                                      PO Box 3307                                          950 Pennsylvania Ave, NW
Springlake Heights, NJ 07762-2090                    Greenville, SC 29602-3307                            Washington, DC 20530-0001



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                                                                                                          Ridgeland, MS 39157-8618


Zerophee Holdings LLC                                Zinovy M Katz                                        Leslie S Osborne +
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                                                     Tampa, FL 33602-4936

United States Trustee - TPA7/13 +                    Nicole M Cameron +                                   Mary R Thanasides +
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


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dba GM Financial                                     PO Box 64679
P O Box 183853                                       Baltimore, MD 21264
Arlington, TX 76096
                            Case 8:20-bk-05750-CPM                Doc 215-2        Filed 08/23/22         Page 9 of 9


                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)M&T Bank                                          (u)Q3 Investment Recovery Vehicle, LLC               (u)United States (Internal Revenue Service)
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                                                                                                          Bypassed recipients    14
                                                                                                          Total                 246
